                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION


 UNITED STATES OF AMERICA                       )
                                                )
                                                )     Case No. 2:15CR00018-008
                                                )
 v.                                             )     OPINION AND ORDER
                                                )
 JEREMY REDDEN,                                 )     By: James P. Jones
                                                )     United States District Judge
                                                )
                  Defendant.                    )

       Jeremy Redden, Pro Se Movant.

       The movant, a federal inmate, has filed a pro se Motion to Correct Sentence.

 The motion will be denied.

       Redden was sentenced by the United States District Court for the Eastern

 District of Tennessee on June 6, 2016, to 100 months imprisonment. On January

 3, 2017, he was sentenced by this court to a total of 185 months imprisonment.

 The sentencing judgment of this court provided that the sentence “shall run

 concurrently with the defendant’s term of imprisonment pursuant to the judgment”

 in the Eastern District of Tennessee. J. 2, ECF No. 593.

       Redden, who is incarcerated in the Fairton Federal Correctional Center,

 located in New Jersey, complains that the Bureau of Prison “is not reflecting this

 concurrent condition.” Mot. 1, ECF No. 786. He asks the court to correct the




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 matter so that both sentences start on August 20, 2015, which appears to have been

 his arrest date on the Eastern District of Tennessee charge.             Presentence

 Investigation Report ¶ 333, ECF No. 608.

       This court cannot change its sentence. If Redden believes that the Bureau of

 Prisons has incorrectly calculated his term of incarceration, he may file an action in

 the federal district court in the district where he is incarcerated under 28 U.S.C. §

 2241, after having fully exhausted his administrative remedies with the Bureau of

 Prisons. Ivy v. Joyner, Civil Action No. 9:18-2158-HMH-BM, 2019 WL 540509,

 at *2 (Jan. 15, 2019), R. & R. adopted, 2019 WL 534225, at *1 (D.S.C. Feb. 11,

 2019).

       Accordingly, the Motion to Correct Sentence, ECF No. 786, is DENIED.

                                                ENTER: February 19, 2019

                                                /s/ James P. Jones
                                                United States District Judge




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